  Case:17-03283-LTS Doc#:13678-6 Filed:07/15/20 Entered:07/15/20 18:46:21     Desc:
                             Exhibit F Page 1 of 1

                                        EXHIBIT F

                       Summary of Jenner & Block LLP Expenses

Service Description                                                Amount
Audiovisual                                                       $2,422.22
B&W Copy                                                          $9,371.10
Business Meals                                                       $21.30
Color Copy                                                          $102.25
Court Fees                                                          $280.00
In-City Transportation                                               $45.80
Lexis Research                                                    $1,860.51
Other Professional Services - Alix Partners LLP; Transperfect    $65,952.83
Translations;
Pacer Charges                                                       $120.80
Postage Expense                                                   $1,323.56
Special Messenger Service                                            $28.50
Telephone Expense                                                   $374.35
UPS                                                               $1,446.46
Westlaw Research                                                  $5,375.44
Travel
                                 Airfare                          $6,703.22
                         Ground Transportation                    $1,497.73
                                  Hotel                           $3,218.07
                                  Meals                           $4,678.75
                                 Parking                            $300.00
TOTAL                                                           $105,122.89
